      Case 2:10-cr-00223-JAM Document 147 Filed 04/28/11 Page 1 of 2


 1   LAW OFFICES OF PAUL DELANO WOLF
     PAUL DELANO WOLF, No. 78624
 2   717 Washington Street, 2nd Floor
     Oakland, CA 94607
 3   Phone (510) 451-4600
     Fax (510) 451-3002
 4
     Attorney for Defendant
 5   NICOLE DAWSON
 6
 7
                      IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,              ) No. CR 10-0223 JAM
                                            )
12              Plaintiff,                  ) SUBSTITUTION OF
                                            ) COUNSEL
13   v.                                     ) ORDER
                                            )
14   NICOLE DAWSON, et al,                  )
                                            )
15              Defendants.                 )
16              Defendant Nicole Dawson hereby substitutes Blackmon and
17   Associates, 813 6th Street, Suite 450, Sacramento, CA 95814-2403,
18   telephone number (916) 441-0824, as her attorney in the above
19   captioned case in place of the Law Offices of Paul Delano Wolf, 717
20   Washington Street, Oakland, CA 94607, telephone number (510) 451-
21   4600.
22              I request and consent to the substitution.
23
     ____________________
     4/14/2011                         ______________________________
                                        /s/Nicole Dawson
24   Date                              NICOLE DAWSON
25
                I accept the substitution.
26
27   ____________________
      4/14/2011                          /s/ Clyde Blackmon
                                       ______________________________
     Date                              CLYDE BLACKMON
28
     //
      Case 2:10-cr-00223-JAM Document 147 Filed 04/28/11 Page 2 of 2


 1
                I consent to the substitution.
 2
 3    4/15/2011
     ____________________              ______________________________
                                        /s/ Paul Delano Wolf
     Date                              PAUL DELANO WOLF
 4
 5              IT IS SO ORDERED.
 6
        Date: 4/15/2011
 7
 8                                           /s/ John A. Mendez
                                           HONORABLE JOHN A. MENDEZ
 9                                         United States District Court

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

SUBSTITUTION OF COUNSEL              -2-
